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                           IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

                                                    )
 LOIS WHITE                                         )
                                                    )
            Plaintiff,                              )
                                                    )       Case No. 1:24-cv-01837
 v.                                                 )
                                                            Hon.
                                                    )
 THE DRAKE OAK BROOK RESORT,
                                                    )
 LLC., an Illinois limited liability company
                                                    )
            Defendant.                              )
                                                    )
                                                    )

      PLAINTIFF’S COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

        Plaintiff Lois White, through her undersigned counsel, states the following in support of

her Complaint for Declaratory and Injunctive Relief to remedy discrimination by Defendant The

Drake Oak Brook Resort, LLC. based on Plaintiff’s disability in violation of Title III of the

Americans with Disabilities Act of 1990, 42 U.S.C. §§ 12181 et seq. (“ADA”), and its

implementing regulation, 28 C.F.R. Part 36:

                                    JURISDICTION AND VENUE

        1.         This Court has jurisdiction over this action pursuant to 42 U.S.C. § 2000a-3(a), 28

U.S.C. § 1331, and 28 U.S.C. § 1343.

        2.         Venue is appropriate in this district under 28 U.S.C. § 1391 because the acts of

discrimination occurred in this district, and the property that is the subject of this action is in this

district.

                                                PARTIES

        3.         Plaintiff is a resident of Cook County, Illinois.


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       4.      Defendant The Drake Oak Brook Resort, LLC. is a limited liability company with

its registered office located at 2301 York Road, Oak Brook, IL 60523.

       5.      Upon information and belief, Defendant The Drake Oak Brook Resort owns or

operates “The Drake Oak Brook, Autograph Collection” whose location qualifies as a “Facility”

as defined in 28 C.F.R. § 36.104.

                                    FACTUAL ALLEGATIONS

       6.      Plaintiff incorporates the above paragraphs by reference.

       7.      Plaintiff is an individual with disabilities, including arthritis of the lumbar spine

and osteoarthritis of the right knee. These conditions cause sudden onsets of severe pain and

substantially limit Plaintiff’s ability to perform certain manual tasks, walk, stand, lift, and bend.

The disabilities and symptoms are permanent.

       8.      Plaintiff suffered from these disabilities during her initial visits (and prior to

instituting this action) to “The Drake Oak Brook, Autograph Collection.”

       9.      Plaintiff’s disabilities are considered a qualified disability under 28 C.F.R. 36.105.

       10.     Plaintiff’s condition is degenerative and occasionally requires mobility aids to

assist her movement.

       11.     Plaintiff regularly travels to the Orland Park area to visit friends and shop. Most

recently, Plaintiff was in the Orland Park area in February 2024. Plaintiff plans to return to the

areas in April 2024.

       12.     Plaintiff stays at hotels when she is in the area.

       13.     Plaintiff does not always stay at the same hotel, but prefers to shop around for the

best amenities, prices, and ease of access to accommodate her disabilities.



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       14.     Plaintiff regularly experiences barriers to access relating to her disability at hotels

due to her frequent travels.

       15.     While many hotels advertise that they are accessible, Plaintiff still regularly

encounters barriers to access.

       16.     This requires Plaintiff to visit hotels that offer the amenities, pricing, and location

she desires prior to making a reservation to ensure that she can access the Facility in a manner

equal to non-disabled individuals.

       17.     Despite advertising that The Drake Oak Brook, Autograph Collection hotel is

accessible, Plaintiff encountered barriers to access at the Orland Park Facility, which denied her

full and equal access and enjoyment of the services, goods, and amenities when she visited the

Oak Brook Facility on February 15, 2024.

       18.     Plaintiff is currently deterred from considering the Facility as a lodging option on

her future planned visits due to the barriers and discriminatory effects of Defendant’s policies and

procedures at the Facility.

       19.     Plaintiff is deterred from returning due to the barriers and discriminatory effects of

Defendant’s policies and procedures at the Facility.

       20.     Plaintiff returns to every Facility after being notified of remediation of the

discriminatory conditions to verify compliance with the ADA and regularly monitors the status of

remediation.

                             COUNT I
        REQUEST FOR DECLARATORY JUDGMENT UNDER 28 U.S.C. § 2201

       21.     Plaintiff incorporates the above paragraphs by reference.




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        22.       This Court is empowered to issue a declaratory judgment regarding: (1)

Defendant’s violation of 42 U.S.C. § 12182; (2) Defendant’s duty to comply with the provisions

of 42 U.S.C. § 12181 et al; (3) Defendant’s duty to remove architectural barriers at the Facility;

and (4) Plaintiff’s right to be free from discrimination due to her disability. 28 U.S.C. § 2201.

        23.       Plaintiff seeks an order declaring that she was discriminated against on the basis of

her disability.

                                COUNT II
          REQUEST FOR INJUNCTIVE RELIEF UNDER 42 U.S.C. § 2000a–3(a)

        24.       Plaintiff incorporates the above paragraphs by reference.

        25.       The Oak Brook Facility is a place of public accommodation covered by Title III of

the ADA because it is operated by a private entity, their operations affect commerce, and it is a

hotel. 42 U.S.C. § 12181(7); see 28 C.F.R. § 36.104.

        26.       Defendant is a public accommodation covered by Title III of the ADA because it

owns, leases (or leases to), or operates a place of public accommodation. See 42 U.S.C. §§

12181(7), 12182(a); 28 C.F.R. § 36.104.

        27.       Architectural barriers exist which deny Plaintiff full and equal access to the goods

and services Defendant offers to non-disabled individuals.

        28.       Plaintiff personally encountered architectural barriers on February 15, 2024 at the

Oak Brook Facility located at 2301 York Road, Oak Brook, IL 60523 that affected her disabilities:

              a. Loading Zone:

                       i. Failing to provide a passenger loading zone with an access aisle marked

                           with striping in violation of sections 209, 209.1, 209.4, 503, 503.1, 503.3

                           and 503.3.3 of the Standards, which requires Plaintiff to park her vehicle


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                  further than necessary from the Facility and walk an excessive distance,

                  thereby causing pain in her back and knees.

   b. Women’s Restroom:

               i. Failing to provide proper signage for an accessible restroom or failure to

                  redirect a person with a disability to the closest available accessible

                  restroom facility in violation of sections 216, 216.2, 216.6, 216.8, 603,

                  703, 703.1, 703.2, 703.5 and 703.7.2.1 of the Standards, which requires

                  Plaintiff to use a restroom that is not safe or walk further than necessary

                  to locate an accessible restroom, which aggravates her knee and back

                  injuries.

               ii. Failing to provide the proper insulation or protection for plumbing or

                  other sharp or abrasive objects under a sink or countertop in violation of

                  sections 606 and 606.5 of the Standards, which prevents proper balance

                  and causes Plaintiff difficulty when trying to reach under the sink.

   c. Stall:

               i. Failing to provide the water closet in the required proper position relative

                  to the side wall or partition in violation of sections 604 and 604.2 of the

                  Standards, which prevents Plaintiff from using the grab bar to get on and

                  off of the toilet because the toilet is not in the proper position from the

                  wall.

               ii. Failing to provide toilet paper dispensers in the proper position in front of

                  the water closet or at the correct height above the finished floor in



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               violation of sections 604, 604.7 and 309.4 of the Standards, which causes

               Plaintiff difficulty reaching the toilet paper dispenser and aggravates

               Plaintiff’s back injury.

           iii. Failing to provide a coat hook within the proper reach ranges for a person

               with a disability in violation of sections 603, 603.4 and 308 of the

               Standards, which causes unnecessary strain on Plaintiff’s back injury to

               use the coat hook.

           iv. Failing to provide the correct height for a table surface or for a baby

               changing table, in violation of sections 902, 902.1, 902.2, 902.3, and/or

               §4.32.4 of the 1991 ADA Standards, which aggravates Plaintiff’s back

               and knee injuries when trying to use the baby changing table.

           v. Failing to provide a paper towel dispenser or its operable part at the

               correct height above the finished floor in violation of sections 606, 606.1

               and 308 of the Standards, which aggravates Plaintiff’s back injury.

   d. Bar and Bar Area:

           i. Failing to provide the correct height for accessible seating or work surface

               use for person(s) with a disability at a bar or adjacent table in the bar area,

               a baby changing table, recreational area or a table area adjacent to a pool

               for food or beverage service, or at a computer work surface such as in a

               business center, in violation of sections 902, 902.1, 902.2, 902.3, 305, 306

               of the Standards and/or §4.32.4 of the 1991 ADA Standards, which causes

               undue strain on Plaintiff’s legs and back.



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           ii. Failing to provide required accessible seating for person(s) with a

               disability at a bar or adjacent table exceeding 34 inches in the bar area in

               violation of sections 902, 902.1, 902.3 of the Standards, which requires

               Plaintiff to sit in seating that causes her pain due to her back and leg issues.

           iii. Failing to provide seating for a person(s) with a disability that has the

               correct clear floor space for forward approach in violation of sections 902,

               902.2, 305 and 306 of the Standards, which aggravates Plaintiff’s knee

               and back injuries by preventing her from extending her legs without

               obstruction while being able to utilize the table surface.

           iv. Failing to provide a sufficient dispersion of seating throughout the facility

               when dining surfaces are provided for the consumption of food or drink

               for a person(s) with a disability in violation of sections 226, 226.2, 902,

               305 and 306 of the Standards, which requires Plaintiff to utilize seating

               that is unsafe and painful for her to use due to her leg and back injuries.

   e. Food Service Area:

           i. Failing to provide seating for a person(s) with a disability that has the

               correct clear floor space for forward approach in violation of sections 902,

               902.2, 305 and 306 of the Standards, which aggravates Plaintiff’s knee

               and back injuries by preventing her from extending her legs without

               obstruction while being able to utilize the table surface.

           ii. Failing to provide a sufficient dispersion of seating throughout the facility

               when dining surfaces are provided for the consumption of food or drink



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                         for a person(s) with a disability in violation of sections 226, 226.2, 902,

                         305 and 306 of the Standards, which requires Plaintiff to utilize seating

                         that is unsafe and painful for him to use due to his leg and back injuries.

        29.     These barriers cause Plaintiff difficulty in safely using each element of the Facility

because of Plaintiff’s impaired mobility and limited range of motion in her legs and back requiring

extra care due to concerns for safety and a fear of aggravating her injuries.

        30.    Defendant has failed to remove some or all of the barriers and violations at the

Facility.

        31.    Defendant’s failure to remove these architectural barriers denies Plaintiff full and

equal access to the Facility in violation of 42 U.S.C. § 12182(b)(2)(A)(iv).

        32.    Defendant’s failure to modify its policies, practices, or procedures to train its staff

to identify architectural barriers and reasonably modify its services creates an environment where

individuals with disabilities are not provided goods and services in the most integrated setting

possible is discriminatory. 42 U.S.C. §§ 12182(a), 12182(b)(2)(A)(iv), and 28 C.F.R. § 36.302.

        33.    It would be readily achievable for Defendant to remove all of the barriers at the

Facility.

        34.    Failing to remove barriers to access where it is readily achievable is discrimination

against individuals with disabilities. 42 U.S.C. §§ 12182(a), 12182(b)(2)(A)(iv), and 28 C.F.R. §

36.304.




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                                    RELIEF REQUESTED

WHEREFORE, Plaintiff respectfully requests that this Court:

       A.      declare that the Facility identified in this Complaint is in violation of the ADA;

       B.      declare that the Facility identified in this Complaint is in violation of the 2010 ADA

Standards for Accessible Design;

       C.      enter an Order requiring Defendant make the Facility accessible to and usable by

individuals with disabilities to the full extent required by Title III of the ADA and the 2010 ADA

Standards for Accessible Design;

       D.      enter an Order directing Defendant to evaluate and neutralize its policies, practices,

and procedures towards persons with disabilities;

       E.      award Plaintiff attorney fees, costs (including, but not limited to court costs and

expert fees) and other expenses of this litigation pursuant to 42 U.S.C. § 12205; and

       F.      grant any other such relief as the Court deems just and proper.



                                                      Respectfully submitted,

                                                      CASS LAW GROUP, P.C.

                                                      /s/ Angela C. Spears
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Dated: March 5, 2024



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